        Case 1:18-cr-00203-BLW Document 89 Filed 12/22/21 Page 1 of 5




                      UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,

              Plaintiff,                       Case No. 1:18-cr-00203-BLW

       vs.                                     MEMORANDUM DECISION
                                               AND ORDER
LONNIE EARL PARLOR JR.,

              Defendant.


                                INTRODUCTION

      Before the Court is the Government’s Motion to Authorize Payment from

Inmate Trust Account (Dkt. 78). In response, Defendant filed a Motion to Release

Funds (Dkt. 79), which the Court will construe as a response in opposition to the

Government’s motion. For the Reasons that follow, the Court will grant the

Government’s motion and deny Defendant’s motion.

                                 BACKGROUND

      Lonnie Earl Parlor Jr. plead guilty to Unlawful Possession of Firearms, in

violation of 18 U.S.C. § 922(g)(1). On November 19, 2019 he was sentenced to

120 months imprisonment followed by three years of supervised release, a $100.00

special assessment fee, and a fine of $1,000.00. Mr. Parlor is in the custody of the

Bureau of Prisons and is currently housed at Lompoc USP with an expected release

date of January 18, 2027.
ORDER AUTHORIZING PAYMENT FROM INMATE TRUST ACCOUNT – 1
         Case 1:18-cr-00203-BLW Document 89 Filed 12/22/21 Page 2 of 5




       To date, Mr. Parlor has paid $100.00 toward his special assessment fee, and

nothing toward the fine, leaving a balance of $1,000.000.

       The Government represents that it was informed that Parlor has

approximately $709.50 in his inmate trust account maintained by the BOP. The

Government asks the Court, pursuant to 18 U.S.C. §§ 3613(a), 3613(c) and

2664(n), to enter an order authorizing the BOP to turn over to the Clerk of the

Court the funds held by BOP in Parlor’s inmate trust account as payment for the

unpaid criminal monetary obligations imposed in this case.

       Mr. Parlor filed a motion seeking release of his funds. He asserts that he has

followed the payment schedule set forth by the Court at his sentencing and asks the

Court to allow him to continue submitting nominal payments of not less than $25

per quarter pursuant to the Bureau of Prisons Inmate Financial Responsibility

Program.

                                      ANALYSIS

       Procedures and remedies for enforcing criminal monetary penalties and

restitution are set out in 18 U.S.C. §§ 3613, 3664. Section 3613 provides, in

relevant part, that a fine or an order of restitution is to be treated as a “lien in favor

of the United States on all property and rights to property of the person fined,” or

against whom an order of restitution is issued, with some specified exceptions.




ORDER AUTHORIZING PAYMENT FROM INMATE TRUST ACCOUNT – 2
        Case 1:18-cr-00203-BLW Document 89 Filed 12/22/21 Page 3 of 5




18 U.S.C. § 3613(a), (c), (f). The specified exceptions do not apply to property in

the form of cash. See 18 U.S.C. § 3613(a)(1)-(3).

      Moreover, the Crime Victims’ Rights Act (CVRA) provides that a crime

victim has “[t]he right to full and timely restitution as provided in law.” 18 U.S.C.

§ 3771(a)(6). In addition, the Mandatory Victims’ Restitution Act (MVRA)

requires: “If a person obligated to provide restitution, or pay a fine, receives

substantial resources from any source . . . during a period of incarceration, such

person shall be required to apply the value of such resources to any restitution or

fine still owed.” 18 U.S.C. § 3664(n).

      Some courts have recognized that the Government may pursue immediate or

adjusted enforcement of criminal monetary sanctions as long as the judgment

contains no language to the contrary. See United States v. James, 312 F. Supp. 2d

802, 806-07 (E.D. Va. 2004); United States v. Webb, 2014 WL 4371276, at *1 (D.

Ariz. Sept. 4, 2014); United States v. Ekong, 518 F.3d 285, 286 (5th Cir. 2007);

United States v. Clayton, 646 F. Supp. 2d 827, 836 (5th Cir. 2009); see also United

States v. Brewer, 699 F. App'x 318, 319 (5th Cir. 2017) (“Participation in the IFRP

and compliance with a payment schedule does not preclude[ ] the Government

from using other available collection mechanisms to seek payment of monetary

penalties”). But see United States v. Armstrong, No. 09-CR-135 (BAH), 2020 WL

136289, at *6 (D.D.C. Jan. 13, 2020) (declining to compel restitution payment


ORDER AUTHORIZING PAYMENT FROM INMATE TRUST ACCOUNT – 3
        Case 1:18-cr-00203-BLW Document 89 Filed 12/22/21 Page 4 of 5




from an inmate’s trust account, when the restitution order “limits payments to $50

per quarter during the defendant’s term of incarceration”).

      Here, the Judgment against Parlor does not contain any statement precluding

the immediate or adjusted enforcement of the fine assessment, nor is it worded in

terms of limiting the amount of payment due. See Dkt. 58. To the contrary, the

Judgment states that while in custody, Parlor “shall submit nominal payments of

not less than $25 per quarter.” Id. (emphasis added).

      As discussed above, Parlor has a balance of $1,000.00 owing on the fine

imposed. He currently has funds in the amount of approximately $709.50 in his

inmate trust account maintained by the BOP. The Court will therefore grant the

Government’s motion and require the BOP to deliver to the Clerk of the Court all

funds in Parlor’s inmate trust account in an amount not to exceed $1,000.00.

                                     ORDER

      IT IS ORDERED that:

      1. The Government’s Motion to Authorize Payment from Inmate Trust

         Account (Dkt. 78) is GRANTED.

      2. BOP shall deliver to the Clerk of the Court all funds not to exceed

         $1,000.00 from Defendant Lonnie Earl Parlor Jr.’s inmate trust account.




ORDER AUTHORIZING PAYMENT FROM INMATE TRUST ACCOUNT – 4
          Case 1:18-cr-00203-BLW Document 89 Filed 12/22/21 Page 5 of 5




     3.     The Clerk of the Court shall apply these funds as payment towards the

           criminal monetary obligations owed by Defendant Lonnie Earl Parlor Jr.

           in this case.

     4. The Defendant’s Motion to Release Funds (Dkt. 79) is DENIED.



                                             DATED: December 22, 2021


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




ORDER AUTHORIZING PAYMENT FROM INMATE TRUST ACCOUNT – 5
